                              1   WEIL, GOTSHAL & MANGES LLP
                                  Stephen Karotkin (pro hac vice)
                              2   (stephen.karotkin@weil.com)
                                  Jessica Liou (pro hac vice)
                              3   (jessica.liou@weil.com)
                                  Matthew Goren (pro hac vice)
                              4   (matthew.goren@weil.com)
                                  767 Fifth Avenue
                              5   New York, NY 10153-0119
                                  Tel: 212 310 8000
                              6   Fax: 212 310 8007

                              7
                                  KELLER & BENVENUTTI LLP
                              8   Tobias S. Keller (#151445)
                                  (tkeller@kellerbenvenutti.com)
                              9   Jane Kim (#298192)
                                  (jkim@kellerbenvenutti.com)
                             10   650 California Street, Suite 1900
                                  San Francisco, CA 94108
                             11   Tel: 415 496 6723
                                  Fax: 650 636 9251
                             12
                                  Proposed Attorneys for Debtors
                             13   and Debtors in Possession
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             14
      767 Fifth Avenue




                             15                               UNITED STATES BANKRUPTCY COURT

                             16                               NORTHERN DISTRICT OF CALIFORNIA

                             17                                       SAN FRANCISCO DIVISION

                             18
                                                                                     Bankruptcy Case No. 19-30088 (DM)
                             19
                                    In re:                                           Chapter 11
                             20                                                      (Lead Case)
                                    PG&E CORPORATION,                                (Jointly Administered)
                             21
                                             - and -                                 NOTICE OF FILING AND HEARING ON
                             22                                                      RETENTION APPLICATIONS FOR
                                    PACIFIC GAS AND ELECTRIC                         DEBTORS’ PROFESSIONALS
                             23     COMPANY,
                                                                                     Date: April 9, 2019
                             24                                  Debtors.            Time: 9:30 a.m. (Pacific Time)
                                                                                     Place: United States Bankruptcy Court
                             25      Affects PG&E Corporation                              Courtroom 17, 16th Floor
                                     Affects Pacific Gas and Electric Company              San Francisco, CA 94102
                             26      Affects both Debtors
                                                                                     Objection Deadline: April 2, 2019
                             27     * All papers shall be filed in the Lead Case,                        4:00 p.m. (Pacific Time)
                                    No. 19-30088 (DM).
                             28



                             Case: 19-30088        Doc# 872     Filed: 03/13/19     Entered: 03/13/19 19:49:52    Page 1 of 3
 1          PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
     Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and
 2   debtors in possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11
     Cases”), each filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code
 3   (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Northern District of
     California (San Francisco Division) (the “Bankruptcy Court”).
 4

 5          PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
     April 9, 2019, at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
 6   Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden
     Gate Avenue, San Francisco, California 94102.
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           PLEASE TAKE FURTHER NOTICE that, in addition to any other matters scheduled for the
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     Omnibus Hearing, the Bankruptcy Court is scheduled to hear the applications filed by the Debtors on
 9   March 13, 2019 to retain and employ certain advisors and other professionals listed below (the
     “Applications”).
10
            1.     Weil, Gotshal & Manges LLP. Application of Debtors Pursuant to 11 U.S.C. § 327(a)
11   and Fed. R. Bankr. P. 2014(a) and 2016 for Authority to Retain and Employ Weil, Gotshal & Manges
     LLP as Attorneys for the Debtors Effective as of the Petition Date [Dkt No. 864].
12

13          2.      Keller & Benvenutti LLP. Application of Debtors Pursuant to 11 U.S.C. § 327(a) and
     Fed. R. Bankr. P. 2014(a) and 2016 for Authority to Retain and Employ Keller & Benvenutti LLP as
14   Co-Counsel for the Debtors Nunc Pro Tunc to the Petition Date [Dkt No. 869].

15          3.     AlixPartners. Application of Debtors Pursuant to 11 U.S.C. §§ 363(b) and 105(a) for
     Authority to Employ and Retain AP Services, LLC to Provide a Chief Restructuring Officer, Deputy
16   Chief Restructuring Officer, and Additional Personnel for the Debtors Nunc Pro Tunc to the Petition
17   Date [Dkt No. 867].

18           PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the Applications
     must be in writing, filed with the Bankruptcy Court, and served on the counsel for the Debtors at the
19   above-referenced addresses so as to be received by no later than 4:00 p.m. (Pacific Time) on April 2,
     2019. Any oppositions or responses must be filed and served on all “Standard Parties” as defined in,
20   and in accordance with, the Order Implementing Certain Notice and Case Management Procedures
     entered on March 6, 2019 [Dkt No. 759] (“Case Management Order”). Any relief requested in the
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     Applications may be granted without a hearing if no opposition is timely filed and served in
22   accordance with the Case Management Order. In deciding the Applications, the Court may
     consider any other document filed in these Chapter 11 Cases and related Adversary Proceedings.
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 1           PLEASE TAKE FURTHER NOTICE that copies of each Application can be viewed and/or
     obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov, (ii) by contacting the
 2   Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA 94102, or (iii) from
     the Debtors’ notice and claims agent, Prime Clerk LLC , at https://restructuring.primeclerk.com/pge or
 3   by calling (844) 339-4217 (toll free) for U.S.-based parties; or +1 (929) 333-8977 for International
     parties or by e-mail at: pgeinfo@primeclerk.com. Note that a PACER password is needed to access
 4
     documents on the Bankruptcy Court’s website.
 5
     Dated: March 13, 2019
 6                                          WEIL, GOTSHAL & MANGES LLP

 7                                           KELLER & BENVENUTTI LLP

 8                                           /s/ Jane Kim
                                                         Jane Kim
 9

10                                           Proposed Attorneys for Debtors and Debtors in
                                             Possession
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